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1    DAVID A. TORRES AND ASSOCIATES
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5    Attorney for:
     CANDACE GONZALES
6

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8
                       IN THE UNITED STATES DISTRICT COURT
9
                     FOR THE EASTERN DISTRICT of CALIFORNIA
10

11                                                ) Case No.: Case No.1:12-CR-213 AWI-BAM
     UNITED STATES OF AMERICA,                    )
12                                                ) ORDER TO EXTEND DEFENDANT’S
                   Plaintiff,                     ) SURRENDER DATE
13                                                )
            vs.                                   )
14                                                )
     CANDACE GONZALES,                            )
15                                                )
                   Defendant                      )
16
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
17
     ANTHONY W. ISHII AND KIRK E. SHERRIFF AND HENRY Z. CARBAJAL, ASSISTANT
18
     UNITED STATES ATTORNEY:
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            COMES NOW Defendant, CANDACE GONZALES, by and through her attorney of
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     record, DAVID A. TORRES, hereby requesting that the surrender date of the defendant,
21
     Candace Gonzales, herein, be extended from August 1, 2016 to September 1, 2016 for the
22
     following reason(s):
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            Ms. Gonzales has doctors’ appointments scheduled for all four of her children to make
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     sure their immunizations and physicals are all up to date prior to her incarceration. When Ms.
25
     Gonzales made the appointments, she was told there were no available appointments until late




                  Motion and Order to Extend Defendant’s Surrender Date - 1
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 1   August due to the overload of kindergarten physicals taking place. Along with the physicals for

 2   her children, Ms. Gonzales has scheduled dental appointments and optometrist exams. She

 3   would like to make sure that her children’s medical needs are taken care of before she is

 4   incarcerated. Once the appointments are complete, Ms. Gonzales will begin the transfer of

 5   temporary guardianship to her parents and grandparents. The temporary guardianship paperwork

 6   cannot be completed until their medical exams are complete because all children will be placed

 7   on a new insurance plan with new doctors following the transfer of guardianship.

 8            Based on the foregoing, it is requested that Court find good cause to extend the surrender

 9   date to the aforementioned date. While the government cannot stipulate to the extension, they

10   will not challenge the request.

11

12                                                                Respectfully Submitted,

13   DATED: 6/28/16                                               /s/ David A Torres          ___
                                                                  DAVID A. TORRES
14                                                                Attorney for Defendant
                                                                  Candace Gonzales
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16
                                                 ORDER
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18   IT IS SO ORDERED.
19   Dated:    June 29, 2016
                                                  SENIOR DISTRICT JUDGE
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                   Motion and Order to Extend Defendant’s Surrender Date - 2
